    Case 2:09-cv-00052-R-RC Document 66 Filed 10/25/10 Page 1 of 1 Page ID #:1544




                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES - GENERAL

CASE NO.: CV-09-52-R                                                                Date: Oct.   25, 2010

TITLE: GUARDIAN MEDIA TECHNOLOGIES LTD V. TOSHIBA AMERICA CONSUMER
PRODUCTS LLC
==========================================================================
PRESENT:
                           HON. MANUEL L. REAL, JUDGE
           Isabel Martinez                            Sheri Kleeger
           Deputy Clerk                               Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:

           Jasmin Morad                                         Marko Zoretic


PROCEEDINGS:     1.       STATUS CONFERENCE on Order granting Parties Joint motion to remand from
                          U.S.C.A. 9th Circuit
                 2        Joint motion to vacate the Court's prior claim construction and summary judgment
                          ruling concerning U.S. Patent No. 4,930,160 (fld 8-21-09)



           The parties inform the Court that they have settled.

           The Court vacates the joint motion to vacate.

           Plaintiff shall submit a proposed order.




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MINUTES FORM 90                                                          Initials of Deputy Clerk         IM
CIVIL -- GEN
